               Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                                                                      Desc
                              UNITED STATES  DEPARTMENT
                                        Main Document    OF JUSTICE
                                                        Page 1 of 47
                               OFFICE OF THE UNITED STATES TRUSTEE
                                 CENTRAL DISTRICT OF CALIFORNIA
In Re:                                                                                 CHAPTER 11 (BUSINESS)

     ICPW Liquidation Corporation,                                                     Case Number:             1:17-bk-12408-MB
     a California corporation                                                          Operating Report Number:                    3
                                                                 Debtor(s).            For the Month Ending:               30-Nov-17

                                               I. CASH RECEIPTS AND DISBURSEMENTS
                                                      A. (GENERAL ACCOUNT*)

1. TOTAL RECEIPTS PER ALL PRIOR GENERAL ACCOUNT REPORTS                                                                                           2,022,500.42

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR GENERAL                                                                                                1,855,990.48
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                                                                                                269,026.69

4. RECEIPTS DURING CURRENT PERIOD:
   Accounts Receivable - Post-filing                                                                            387,151.87
   Accounts Receivable - Pre-filing                                                                             115,899.37
   General Sales
   Other (Specify)        Stock Option Exercise                                                                  63,628.00
   **Other (Specify)      BBI Receipts                                                                          964,819.26

     TOTAL RECEIPTS THIS PERIOD:                                                                                                                  1,531,498.50

5. BALANCE:                                                                                                                                       1,800,525.19

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   Transfers to Other DIP Accounts (from page 2) (1,582,685.33)
   Disbursements (from page 2)                       (3,852.86)

     TOTAL DISBURSEMENTS THIS PERIOD:***                                                                                                         (1,586,538.19)

7. ENDING BALANCE:                                                                                                                                   213,987.00

8. General Account Number(s):                                                                        567

     Depository Name & Location:                                                  Capital One



* All receipts must be deposited into the general account.
** Include receipts from the sale of any real or personal property out of the ordinary course of business; attach an exhibit specifying what was sold,
    to whom, terms, and date of Court Order or Report of Sale.
***This amount should be the same as the total from page 2.
                                                                                   Page 1 of 16
     Note: BBI Receipts represents the amounts receivied into ICPW bank accounts post-close, payments remitted to BBI
                 Case 1:17-bk-12408-MB  Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48
                         TOTAL DISBURSEMENTS FROM GENERAL ACCOUNT FOR CURRENT PERIOD
                                                                                                                                               Desc
                                         Main Document     Page 2 of 47
   Date                 Check       Payee or DIP                                                         *Amount                **Amount
 mm/dd/yyyy             Number         account                       Purpose                            Transfered              Disbursed        Amount
     11/1/2017          Xfer     DIP Account             Maintain Balance                                 (124,736.86)                            (124,736.86)
     11/2/2017          Xfer     Disbursement Act        For Disbursement                                 (150,000.00)                            (150,000.00)
     11/6/2017          Xfer     Disbursement Act        For Disbursement                                 (100,000.00)                            (100,000.00)
     11/8/2017          Xfer     Disbursement Act        For Disbursement                                 (100,000.00)                            (100,000.00)
     11/9/2017          Xfer     DIP Account             Maintain Balance                                  (39,821.32)                             (39,821.32)
     11/9/2017          ACH      Capital One             Bank Fees                                                                (3,652.40)        (3,652.40)
     11/9/2017          ACH      Capital One             Bank Fees                                                                   (29.95)           (29.95)
    11/10/2017          Xfer     Disbursement Act        For Disbursement                                 (150,000.00)                            (150,000.00)
    11/14/2017          Xfer     Disbursement Act        For Disbursement                                 (100,000.00)                            (100,000.00)
    11/15/2017          Xfer     DIP Account             Maintain Balance                                 (251,108.02)                            (251,108.02)
    11/16/2017          Xfer     DIP Account             Maintain Balance                                  (33,951.21)                             (33,951.21)
    11/17/2017          Xfer     DIP Account             Maintain Balance                                   (1,953.66)                              (1,953.66)
    11/20/2017          Xfer     DIP Account             Maintain Balance                                  (33,517.68)                             (33,517.68)
    11/21/2017          Xfer     DIP Account             Maintain Balance                                  (45,790.89)                             (45,790.89)
    11/21/2017          Bank     Capital One             Bank Fees                                          (2,158.82)                              (2,158.82)
    11/22/2017          Xfer     DIP Account             Maintain Balance                                  (61,680.46)                             (61,680.46)
    11/24/2017          Xfer     DIP Account             Maintain Balance                                 (109,657.32)                            (109,657.32)
    11/27/2017          Xfer     DIP Account             Maintain Balance                                 (101,614.94)                            (101,614.94)
    11/28/2017          Xfer     DIP Account             Maintain Balance                                 (124,208.22)                            (124,208.22)
    11/29/2017          Xfer     DIP Account             Maintain Balance                                   (9,697.64)                              (9,697.64)
    11/30/2017          Xfer     DIP Account             Maintain Balance                                  (42,788.29)                             (42,788.29)
    11/30/2017          Bank     Capital One             Bank Fees                                                                   (93.96)           (93.96)
    11/30/2017          ACH      Capital One             Bank Fees                                                                   (76.55)           (76.55)
                                                                                                                                                         0.00
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                                                                                                                                                         0.00
                                                                                                                                                         0.00
                                                                                                                                                         0.00
                                            TOTAL DISBURSEMENTS THIS PERIOD:                           (1,582,685.33)             (3,852.86)   ($1,586,538.19)
* Fill in amounts in this column if they are TRANSFERS to another DIP account (e.g. Payroll or Tax); the "amount" column will
be filled in for you.
** Fill in amounts in this column if they are DISBURSEMENTS to outside payees; the "amount" column will be filled in for you.




                                                                              Page 2 of 16
               Case 1:17-bk-12408-MB                          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48      Desc
                                                                GENERAL
                                                               Main      ACCOUNT
                                                                    Document    Page 3 of 47
                                                              BANK RECONCILIATION

                           Bank statement Date:                            11/30/2017 Balance on Statement:   $213,987.00

Plus deposits in transit (a):
                                                                      Deposit Date          Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                            0.00
Less Outstanding Checks (a):
                    Check Number                                       Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                            0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                        $213,987.00
* It is acceptable to replace this form with a similar form                  Page 3 of 16
** Please attach a detailed explanation of any bank statement adjustment
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                    Desc
                                                         Main Document    Page 4 of 47




       IRONCLAD PERFORMANCE WEAR CORPORATION
       OPERATING ACCOUNT                                                          4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       1920 HUTTON CT
       SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                             FOR PERIOD NOVEMBER 01, 2017 - NOVEMBER 30, 2017



Previous Balance 10/31/17                              $269,026.69          Number of Days in Cycle                                 30
135 Deposits/Credits                                 $1,531,498.50          Minimum Balance This Cycle                      $50,020.02
23 Checks/Debits                                   ($1,586,538.19)          Average Collected Balance                       $75,150.67
Service Charges                                              $0.00
Ending Balance 11/30/17                                $213,987.00

ACCOUNT DETAIL                      FOR PERIOD NOVEMBER 01, 2017            - NOVEMBER 30, 2017


Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
11/01      ACH deposit FASTENAL COMPANY                                       $2,745.66                                      $271,772.35
           DIRECT PAY 110117 IRONCLAD
           PERFORMANCE W 10082444
11/01      ACH deposit AMAZON.COM958932 EDI                                   $1,402.09                                      $273,174.44
           PYMNTS 110117 IRONCLAD
           PERFORMANCE W OFA000103195692
11/01      ACH deposit COF MERCHNT SET COMB.                                  $1,293.49                                      $274,467.93
           DEP. 110117 IRONCLAD PERFORMANCE
           7700038769
11/01      Lockbox deposit                                                     $490.97                                       $274,958.90
11/01      ACH deposit Ariens Company PAYABLES                                 $267.96                                       $275,226.86
           110117 0000IRONCLAD PERFORM
           20005114
11/01      Transfer debit Transfer to 4670153806                                                    $124,736.86              $150,490.00
11/02      ACH deposit COF MERCHNT SET COMB.                                $20,539.93                                       $171,029.93
           DEP. 110217 IRONCLAD PERFORMANCE
           7700038769
11/02      Lockbox deposit                                                  $18,156.61                                       $189,186.54
11/02      ACH deposit AMAZON.COM959200 EDI                                 $15,922.46                                       $205,109.00
           PYMNTS 110217 IRONCLAD
           PERFORMANCE W OFA000103279926

                                                           Thank you for banking with us.                                 PAGE 1 OF 10

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  Case 1:17-bk-12408-MB         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                Desc
                                 Main Document    Page 5 of 47




ACCOUNT DETAIL         CONTINUED FOR PERIOD NOVEMBER 01, 2017         - NOVEMBER 30, 2017
Date    Description                                Deposits/Credits   Withdrawals/Debits       Resulting Balance
11/02   ACH deposit FASTENAL COMPANY                      $3,862.34                                     $208,971.34
        DIRECT PAY 110217 IRONCLAD
        PERFORMANCE W 10082444
11/02   ACH deposit HOME DEPOT 0537 EDI                    $130.24                                      $209,101.58
        PAYMNT 110217 IRONCLAD
        PERFORMANCE W 2002152661
11/02   ACH deposit HD SUPPLY USD - CASH                     $36.79                                     $209,138.37
        CONC 110217 IRONCLAD PERFORMANCE
        W
11/02   Book transfer debit TO ...0575                                       $150,000.00                 $59,138.37
11/03   ACH deposit AMAZON.COM959961 EDI                $11,281.67                                       $70,420.04
        PYMNTS 110317 IRONCLAD
        PERFORMANCE W OFA000103342176
11/03   Lockbox deposit                                   $1,979.21                                      $72,399.25
11/03   ACH deposit COF MERCHNT SET COMB.                   $303.68                                      $72,702.93
        DEP. 110317 IRONCLAD PERFORMANCE
        7700038769
11/06   Lockbox deposit                                 $39,524.32                                      $112,227.25
11/06   ACH deposit AMAZON.COM960633 EDI                $28,863.41                                      $141,090.66
        PYMNTS 110617 IRONCLAD
        PERFORMANCE W OFA000103370209
11/06   ACH deposit ACE HARDWARE                        $22,577.07                                      $163,667.73
        EPOSPYMNTS 110617 IRONCLAD
        PERFORMANCE W ***********8853
11/06   ACH deposit ACE HARDWARE                          $7,144.26                                     $170,811.99
        EPOSPYMNTS 110617 IRONCLAD
        PERFORMANCE W ***********6692
11/06   ACH deposit VALLEN DISTRIBUT EDI                  $4,174.06                                     $174,986.05
        PYMNTS 110617 0020IRONCLAD
        PERFORM 0000953367
11/06   Wire transfer deposit FUTURE CONCERNS              $713.13                                      $175,699.18
        NIGERIA LI 110617 USDS0673101B8C401
11/06   ACH deposit COF MERCHNT SET COMB.                  $692.38                                      $176,391.56
        DEP. 110617 IRONCLAD PERFORMANCE
        7700038769
11/06   ACH deposit SNAP-ON INC        DAILY_STL             $61.60                                     $176,453.16
        110617 IRONCLAD PERFORMANCE W
        600030512
11/06   ACH deposit HOME DEPOT 0537 EDI                      $31.25                                     $176,484.41
        PAYMNT 110617 IRONCLAD
        PERFORMANCE W 2002061275
11/06   ACH deposit AMAZON.COM961420 EDI                     $28.75                                     $176,513.16
        PYMNTS 110617 IRONCLAD
        PERFORMANCE W OFA000103452832
11/06   ACH deposit COF MERCHNT SET COMB.                    $19.63                                     $176,532.79
        DEP. 110617 IRONCLAD PERFORMANCE
        7700038769
11/06   Book transfer debit TO ...0575                                       $100,000.00                 $76,532.79

                                                                                              PAGE 2 OF 10



                                                                                           PSI: 1 / SHC: 0 / LOB :C
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                         Main Document    Page 6 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
 Date        Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 11/07       Wire transfer deposit GLENFIR S.A.                               $9,980.00                                $86,512.79
             110717 USD311421643
 11/07       ACH deposit AMAZON.COM961675 EDI                                 $2,135.62                                $88,648.41
             PYMNTS 110717 IRONCLAD
             PERFORMANCE W OFA000103469965
 11/07       ACH deposit COF MERCHNT SET COMB.                                $2,062.77                                $90,711.18
             DEP. 110717 IRONCLAD PERFORMANCE
             7700038769
 11/07       ACH deposit ORGILL INC                                            $367.65                                 $91,078.83
             VENDORPYMT 110717 IRONCLAD
             PERFORMANCE 0090405
 11/08       Lockbox deposit                                               $184,720.67                               $275,799.50
 11/08       ACH deposit COF MERCHNT SET COMB.                              $14,876.92                               $290,676.42
             DEP. 110817 IRONCLAD PERFORMANCE
             7700038769
 11/08       ACH deposit SNAP-ON INC         DAILY_STL                           $65.22                              $290,741.64
             110817 IRONCLAD PERFORMANCE W
             600030512
 11/08       Wire transfer deposit IZUNWANNE                                     $17.00                              $290,758.64
             ENTERP RISES NIG 110817
             USD************3841
 11/08       Book transfer debit TO ...0575                                                      $100,000.00         $190,758.64
 11/09       Foreign Check Collection INTERNATIONAL                           $1,332.74                              $192,091.38
             INTERNATL 110917 CAD60010682-00
 11/09       ACH deposit COF MERCHNT SET COMB.                                $1,082.38                              $193,173.76
             DEP. 110917 IRONCLAD PERFORMANCE
             7700038769
 11/09       ACH deposit FASTENAL COMPANY                                      $329.28                               $193,503.04
             DIRECT PAY 110917 IRONCLAD
             PERFORMANCE W 10082444
 11/09       Lockbox deposit                                                   $248.63                               $193,751.67
 11/09       ACH Withdrawal COF MERCHNT BILL COF                                                    $3,652.40        $190,099.27
             BILLNG 110917 IRONCLAD
             PERFORMANCE W 0A351P
 11/09       ACH Withdrawal COF MERCHNT BILL COF                                                       $29.95        $190,069.32
             BILLNG 110917 IRONCLAD
             PERFORMANCE W 0A261O
 11/09       Transfer debit Transfer to 4670153806                                                 $39,821.32        $150,248.00
 11/10       Wire transfer deposit K M S T SDN BHD                          $34,987.42                               $185,235.42
             111017 USD************1947
 11/10       Lockbox deposit                                                  $8,882.96                              $194,118.38




                                                                                                                  PAGE 3 OF 10

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  Case 1:17-bk-12408-MB       Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48            Desc
                               Main Document    Page 7 of 47




ACCOUNT DETAIL        CONTINUED FOR PERIOD NOVEMBER 01, 2017        - NOVEMBER 30, 2017
Date    Description                              Deposits/Credits   Withdrawals/Debits    Resulting Balance
11/10   ACH deposit PAYPAL           TRANSFER           $5,134.80                              $199,253.18
        111017 IRONCLAD PERFORMANCE W
        4XEJ2AAY7Y23U
11/10   ACH deposit COF MERCHNT SET COMB.                $434.94                               $199,688.12
        DEP. 111017 IRONCLAD PERFORMANCE
        7700038769
11/10   ACH deposit FASTENAL COMPANY                     $331.90                               $200,020.02
        DIRECT PAY 111017 IRONCLAD
        PERFORMANCE W 10082444
11/10   Book transfer debit TO ...0575                                     $150,000.00           $50,020.02
11/13   ACH deposit ULINE INC GENERA CORP             $17,109.63                                 $67,129.65
        PAY 111317 IRONCLAD PERFORMANCE
        W 501084
11/13   ACH deposit ACE HARDWARE                      $14,005.62                                 $81,135.27
        EPOSPYMNTS 111317 IRONCLAD
        PERFORMANCE W ***********0679
11/13   ACH deposit COF MERCHNT SET COMB.               $4,598.09                                $85,733.36
        DEP. 111317 IRONCLAD PERFORMANCE
        7700038769
11/13   ACH deposit ACE HARDWARE                        $3,344.69                                $89,078.05
        EPOSPYMNTS 111317 IRONCLAD
        PERFORMANCE W ***********2012
11/13   ACH deposit COF MERCHNT SET COMB.               $2,768.45                                $91,846.50
        DEP. 111317 IRONCLAD PERFORMANCE
        7700038769
11/13   Lockbox deposit                                 $2,570.97                                $94,417.47
11/13   ACH deposit VALLEN DISTRIBUT EDI                $1,497.60                                $95,915.07
        PYMNTS 111317 0009IRONCLAD
        PERFORM 0000955758
11/13   ACH deposit ACE HARDWARE                         $578.94                                 $96,494.01
        EPOSPYMNTS 111317 IRONCLAD
        PERFORMANCE W ***********2803
11/13   Foreign Check Collection INTERNATIONAL           $135.76                                 $96,629.77
        INTERNATL 111317 CAD60010686-00
11/13   ACH deposit ORGILL INC                             $14.88                                $96,644.65
        VENDORPYMT 111317 IRONCLAD
        PERFORMANCE 0090405
11/14   Lockbox deposit                              $305,965.82                               $402,610.47
11/14   ACH deposit ULINE INC GENERA CORP              $9,329.43                               $411,939.90
        PAY 111417 IRONCLAD PERFORMANCE
        W 502049
11/14   ACH deposit FISHER SCIENTIFI CORP               $7,481.63                              $419,421.53
        PYMNT 111417 0009IRONCLAD PERFORM
        88602025
11/14   ACH deposit COF MERCHNT SET COMB.               $7,014.52                              $426,436.05
        DEP. 111417 IRONCLAD PERFORMANCE
        7700038769


                                                                                              PAGE 4 OF 10
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                         Main Document    Page 8 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
 Date        Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 11/14       ACH deposit COF MERCHNT SET COMB.                                $2,768.17                              $429,204.22
             DEP. 111417 IRONCLAD PERFORMANCE
             7700038769
 11/14       ACH deposit Dak Rig         AP 111417                             $712.80                               $429,917.02
             IRONCLAD PERFORMANCE W 000075234
 11/14       ACH deposit ORGILL INC                                            $153.21                               $430,070.23
             VENDORPYMT 111417 IRONCLAD
             PERFORMANCE 0090405
 11/14       ACH deposit SNAP-ON INC         DAILY_STL                           $21.74                              $430,091.97
             111417 IRONCLAD PERFORMANCE W
             600030512
 11/14       Book transfer debit TO ...0575                                                      $100,000.00         $330,091.97
 11/15       Wire transfer deposit K + L ROSS LTD                           $35,638.28                               $365,730.25
             111517 USDF7S1711150371300
 11/15       ACH deposit AMAZON.COM965921 EDI                               $15,409.43                               $381,139.68
             PYMNTS 111517 IRONCLAD
             PERFORMANCE W OFA000103754308
 11/15       Wire transfer deposit GLENFIR S A                              $14,945.00                               $396,084.68
             111517 USD************4055
 11/15       Wire transfer deposit UNIVERN                                    $4,636.07                              $400,720.75
             SOLUTION S AS 111517
             USDF3S1711132410900
 11/15       Lockbox deposit                                                   $794.25                               $401,515.00
 11/15       ACH deposit COF MERCHNT SET COMB.                                 $342.54                               $401,857.54
             DEP. 111517 IRONCLAD PERFORMANCE
             7700038769
 11/15       ACH deposit SNAP-ON INC         DAILY_STL                           $43.48                              $401,901.02
             111517 IRONCLAD PERFORMANCE W
             600030512
 11/15       Transfer debit Transfer to 4670153806                                               $251,108.02         $150,793.00
 11/16       ACH deposit AMAZON.COM966622 EDI                               $22,048.74                               $172,841.74
             PYMNTS 111617 IRONCLAD
             PERFORMANCE W OFA000103821279
 11/16       ACH deposit True Value Co PAYMENT                                $5,668.51                              $178,510.25
             111617 IRONCLAD PERFORMANCE W
             0425911
 11/16       ACH deposit ULINE INC GENERA CORP                                $4,749.84                              $183,260.09
             PAY 111617 IRONCLAD PERFORMANCE
             W 503051
 11/16       ACH deposit COF MERCHNT SET COMB.                                 $305.53                               $183,565.62
             DEP. 111617 IRONCLAD PERFORMANCE
             7700038769




                                                                                                                  PAGE 5 OF 10

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  Case 1:17-bk-12408-MB        Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48          Desc
                                Main Document    Page 9 of 47




ACCOUNT DETAIL        CONTINUED FOR PERIOD NOVEMBER 01, 2017       - NOVEMBER 30, 2017
Date    Description                             Deposits/Credits   Withdrawals/Debits    Resulting Balance
11/16   ACH deposit VALLEN DISTRIBUT EDI                $211.20                               $183,776.82
        PYMNTS 111617 0008IRONCLAD
        PERFORM 0000958880
11/16   ACH deposit FASTENAL COMPANY                    $116.07                               $183,892.89
        DIRECT PAY 111617 IRONCLAD
        PERFORMANCE W 10082444
11/16   ACH deposit HOME DEPOT 0537 EDI                   $58.32                              $183,951.21
        PAYMNT 111617 IRONCLAD
        PERFORMANCE W 2002259779
11/16   Transfer debit Transfer to 4670153806                               $33,951.21        $150,000.00
11/17   Lockbox deposit                              $22,618.07                               $172,618.07
11/17   ACH deposit AMAZON.COM967320 EDI              $1,776.87                               $174,394.94
        PYMNTS 111717 IRONCLAD
        PERFORMANCE W OFA000103881461
11/17   ACH deposit PORTER-WALKER                       $165.87                               $174,560.81
        PAYMENTS 111717 IRONCLAD
        PERFORMANCE
11/17   ACH deposit AMAZON.COM967829 EDI                  $10.85                              $174,571.66
        PYMNTS 111717 IRONCLAD
        PERFORMANCE W OFA000103900669
11/17   Transfer debit Transfer to 4670153806                                $1,953.66        $172,618.00
11/20   Lockbox deposit                              $45,902.24                               $218,520.24
11/20   ACH deposit AMAZON.COM968015 EDI              $6,203.21                               $224,723.45
        PYMNTS 112017 IRONCLAD
        PERFORMANCE W OFA000103910820
11/20   ACH deposit ACE HARDWARE                       $1,517.69                              $226,241.14
        EPOSPYMNTS 112017 IRONCLAD
        PERFORMANCE W ***********5304
11/20   ACH deposit COF MERCHNT SET COMB.              $1,210.93                              $227,452.07
        DEP. 112017 IRONCLAD PERFORMANCE
        7700038769
11/20   ACH deposit ACE HARDWARE                       $1,164.72                              $228,616.79
        EPOSPYMNTS 112017 IRONCLAD
        PERFORMANCE W ***********6820
11/20   ACH deposit COF MERCHNT SET COMB.               $480.89                               $229,097.68
        DEP. 112017 IRONCLAD PERFORMANCE
        7700038769
11/20   ACH deposit COF MERCHNT SET COMB.               $220.13                               $229,317.81
        DEP. 112017 IRONCLAD PERFORMANCE
        7700038769
11/20   ACH deposit VALLEN DISTRIBUT EDI                  $57.24                              $229,375.05
        PYMNTS 112017 0012IRONCLAD
        PERFORM 0000960655
11/20   ACH deposit HOME DEPOT 0537 EDI                   $29.58                              $229,404.63
        PAYMNT 112017 IRONCLAD
        PERFORMANCE W 2001057095




                                                                                             PAGE 6 OF 10
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                        Main Document     Page 10 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
 Date        Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 11/20       ACH deposit True Value Co PAYMENT                                   $14.05                              $229,418.68
             112017 IRONCLAD PERFORMANCE W
             0426612
 11/20       Transfer debit Transfer to 4670153806                                                 $33,517.68        $195,901.00
 11/21       Lockbox deposit                                                $17,135.42                               $213,036.42
 11/21       ACH deposit FASTENAL COMPANY                                    $1,639.81                               $214,676.23
             DIRECT PAY 112117 IRONCLAD
             PERFORMANCE W 10082444
 11/21       Wire transfer deposit NOW                                         $252.30                               $214,928.53
             NETHERLANDS B.V. 112117
             USDFTS1711175533200
 11/21       ACH deposit FASTENAL COMPANY                                      $128.85                               $215,057.38
             DIRECT PAY 112117 IRONCLAD
             PERFORMANCE W 10082444
 11/21       ACH deposit HOME DEPOT 0537 EDI                                     $27.33                              $215,084.71
             PAYMNT 112117 IRONCLAD
             PERFORMANCE W 2002345214
 11/21       Analysis service charge debit ANALYSIS                                                 $2,158.82        $212,925.89
             CHRG
 11/21       Transfer debit Transfer to 4670153806                                                 $45,790.89        $167,135.00
 11/22       Lockbox deposit                                                $77,262.48                               $244,397.48
 11/22       ACH deposit GRAINGER INTERNA                                   $25,908.48                               $270,305.96
             PAYABLES 112217 0008IRONCLAD
             PERFORM IPW100
 11/22       Wire transfer deposit ILKWANG INDUSTRI                         $14,022.88                               $284,328.84
             AL SAFETY 112217 USD0867000326GN
 11/22       ACH deposit COF MERCHNT SET COMB.                                $3,150.08                              $287,478.92
             DEP. 112217 IRONCLAD PERFORMANCE
             7700038769
 11/22       ACH deposit FASTENAL COMPANY                                      $855.42                               $288,334.34
             DIRECT PAY 112217 IRONCLAD
             PERFORMANCE W 10082444
 11/22       ACH deposit AMAZON.COM969790 EDI                                  $608.12                               $288,942.46
             PYMNTS 112217 IRONCLAD
             PERFORMANCE W OFA000104748498
 11/22       Transfer debit Transfer to 4670153806                                                 $61,680.46        $227,262.00
 11/24       ACH deposit AMAZON.COM971152 EDI                               $14,403.14                               $241,665.14
             PYMNTS 112417 IRONCLAD
             PERFORMANCE W OFA000104867259
 11/24       ACH deposit ULINE INC GENERA CORP                                $7,492.77                              $249,157.91
             PAY 112417 IRONCLAD PERFORMANCE
             W 506134




                                                                                                                  PAGE 7 OF 10

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  Case 1:17-bk-12408-MB        Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                               Main Document     Page 11 of 47




ACCOUNT DETAIL        CONTINUED FOR PERIOD NOVEMBER 01, 2017        - NOVEMBER 30, 2017
Date    Description                              Deposits/Credits   Withdrawals/Debits    Resulting Balance
11/24   ACH deposit AMAZON.COM970430 EDI                $6,884.71                              $256,042.62
        PYMNTS 112417 IRONCLAD
        PERFORMANCE W OFA000104826495
11/24   ACH deposit COF MERCHNT SET COMB.               $1,358.57                              $257,401.19
        DEP. 112417 IRONCLAD PERFORMANCE
        7700038769
11/24   Foreign Check Collection INTERNATIONAL           $768.37                               $258,169.56
        INTERNATL 112417 CAD60010712-00
11/24   Foreign Check Collection INTERNATIONAL           $593.13                               $258,762.69
        INTERNATL 112417 CAD60010712-00
11/24   ACH deposit COF MERCHNT SET COMB.                $430.46                               $259,193.15
        DEP. 112417 IRONCLAD PERFORMANCE
        7700038769
11/24   Foreign Check Collection INTERNATIONAL           $358.15                               $259,551.30
        INTERNATL 112417 CAD60010712-00
11/24   ACH deposit HOME DEPOT 0537 EDI                    $81.58                              $259,632.88
        PAYMNT 112417 IRONCLAD
        PERFORMANCE W 2002111303
11/24   Foreign Check Collection INTERNATIONAL             $24.44                              $259,657.32
        INTERNATL 112417 CAD60010712-00
11/24   Transfer debit Transfer to 4670153806                              $109,657.32         $150,000.00
11/27   Lockbox deposit                              $117,494.33                               $267,494.33
11/27   ACH deposit AMAZON.COM971819 EDI              $54,192.86                               $321,687.19
        PYMNTS 112717 IRONCLAD
        PERFORMANCE W OFA000104899373
11/27   ACH deposit ACE HARDWARE                      $20,749.64                               $342,436.83
        EPOSPYMNTS 112717 IRONCLAD
        PERFORMANCE W ***********3701
11/27   ACH deposit ACE HARDWARE                      $15,373.56                               $357,810.39
        EPOSPYMNTS 112717 IRONCLAD
        PERFORMANCE W ***********0617
11/27   ACH deposit ACE HARDWARE                        $3,959.95                              $361,770.34
        EPOSPYMNTS 112717 IRONCLAD
        PERFORMANCE W ***********2320
11/27   Wire transfer deposit DEBET UNIFORM LL          $2,880.00                              $364,650.34
        C 112717 USD************9515
11/27   Wire transfer deposit DEBET UNIFORM LL          $2,101.32                              $366,751.66
        C 112717 USD************9551
11/27   ACH deposit COF MERCHNT SET COMB.               $1,436.86                              $368,188.52
        DEP. 112717 IRONCLAD PERFORMANCE
        7700038769
11/27   ACH deposit COF MERCHNT SET COMB.                $518.62                               $368,707.14
        DEP. 112717 IRONCLAD PERFORMANCE
        7700038769
11/27   ACH deposit COF MERCHNT SET COMB.                $400.80                               $369,107.94
        DEP. 112717 IRONCLAD PERFORMANCE
        7700038769
11/27   Transfer debit Transfer to 4670153806                              $101,614.94         $267,493.00

                                                                                              PAGE 8 OF 10
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                        Main Document     Page 12 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 OPERATING ACCOUNT

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
 Date        Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 11/28       ACH deposit ULINE INC GENERA CORP                                $3,900.96                              $271,393.96
             PAY 112817 IRONCLAD PERFORMANCE
             W 506921
 11/28       ACH deposit AMAZON.COM972728 EDI                                 $2,426.43                              $273,820.39
             PYMNTS 112817 IRONCLAD
             PERFORMANCE W OFA000104983167
 11/28       Lockbox deposit                                                  $1,508.56                              $275,328.95
 11/28       ACH deposit COF MERCHNT SET COMB.                                  $387.27                              $275,716.22
             DEP. 112817 IRONCLAD PERFORMANCE
             7700038769
 11/28       Transfer debit Transfer to 4670153806                                               $124,208.22         $151,508.00
 11/29       Lockbox deposit                                                $24,510.57                               $176,018.57
 11/29       ACH deposit AMAZON.COM973408 EDI                                $4,049.90                               $180,068.47
             PYMNTS 112917 IRONCLAD
             PERFORMANCE W OFA000105008769
 11/29       ACH deposit COF MERCHNT SET COMB.                                $1,702.60                              $181,771.07
             DEP. 112917 IRONCLAD PERFORMANCE
             7700038769
 11/29       ACH deposit FASTENAL COMPANY                                     $1,332.93                              $183,104.00
             DIRECT PAY 112917 IRONCLAD
             PERFORMANCE W 10082444
 11/29       ACH deposit Ariens Company PAYABLES                              $1,059.16                              $184,163.16
             112917 0000IRONCLAD PERFORM
             20005114
 11/29       ACH deposit SNAP-ON INC         DAILY_STL                           $43.48                              $184,206.64
             112917 IRONCLAD PERFORMANCE W
             600030512
 11/29       Transfer debit Transfer to 4670153806                                                  $9,697.64        $174,509.00
 11/30       Lockbox deposit                                                $63,987.30                               $238,496.30
 11/30       ACH deposit AMAZON.COM974189 EDI                                $8,509.04                               $247,005.34
             PYMNTS 113017 IRONCLAD
             PERFORMANCE W OFA000105100027
 11/30       ACH deposit ULINE INC GENERA CORP                                $6,448.05                              $253,453.39
             PAY 113017 IRONCLAD PERFORMANCE
             W 508226
 11/30       ACH deposit COF MERCHNT SET COMB.                                $2,366.48                              $255,819.87
             DEP. 113017 IRONCLAD PERFORMANCE
             7700038769
 11/30       ACH deposit True Value Co PAYMENT                                 $733.65                               $256,553.52
             113017 IRONCLAD PERFORMANCE W
             0429140




                                                                                                                  PAGE 9 OF 10

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   Case 1:17-bk-12408-MB          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48         Desc
                                  Main Document     Page 13 of 47




ACCOUNT DETAIL          CONTINUED FOR PERIOD NOVEMBER 01, 2017       - NOVEMBER 30, 2017
Date    Description                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
11/30   ACH deposit HOME DEPOT 0537 EDI                   $392.28                               $256,945.80
        PAYMNT 113017 IRONCLAD
        PERFORMANCE W 2002177224
11/30   Chargeback Stop Pay        112717                                         $93.96        $256,851.84

11/30   ACH Withdrawal COF MERCHNT SET                                            $76.55        $256,775.29
        COMB. EXC. 113017 IRONCLAD
        PERFORMANCE 7700038769
11/30   Transfer debit Transfer to 4670153806                                 $42,788.29        $213,987.00
Total                                               $1,531,498.50          $1,586,538.19




                                                                                              PAGE 10 OF 10
         Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   Desc
                         I. CASH RECEIPTS  AND DISBURSEMENTS
                                  Main Document      Page 14 of 47
                                    B. (Disbursements)

1. TOTAL RECEIPTS PER ALL PRIOR PAYROLL ACCOUNT REPORTS                  1,740,000.49

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR PAYROLL                       1,791,204.08
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                       61,797.53

4. RECEIPTS DURING CURRENT PERIOD:                               *       1,700,000.00
   (Transferred from General & DIP Account)

5. BALANCE:                                                              1,761,797.53

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                   (1,623,842.34)

7. ENDING BALANCE:                                                         137,955.19

8. PAYROLL Account Number(s):                           0575

  Depository Name & Location:                   Capital One


  * Includes drawdown on Radians DIP line




                                              Page 4 of 16
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   Desc
         TOTAL DISBURSEMENTS Main
                               FROMDocument
                                     PAYROLL ACCOUNT
                                                Page 15 ofFOR
                                                           47 CURRENT PERIOD


  Date     Check
mm/dd/yyyy Number              Payee                           Purpose      Amount
  11/1/2017   ACH    US CBP                   Customs                         (6,734.27)
  11/2/2017   Wire   ADVANTAGE MEDIA SE Warehouse Sevices                     (9,250.00)
  11/2/2017   ACH    Federal Express          Freight                           (102.46)
  11/3/2017   Wire   ADVANTAGE MEDIA SE Warehouse Sevices                    (23,250.00)
  11/3/2017   Wire   CHANG BANG GLOVES Vendor Payments                       (42,956.04)
  11/3/2017   Wire   RESOURCES GLOBAL PRAccounting Inquiry                    (2,000.00)
  11/6/2017   ACH    Federal Express          Freight                         (2,763.91)
  11/6/2017   Wire   JJ Glove                 Vendor Payments                (14,042.88)
  11/6/2017   ACH    YRC                      Freight                           (848.24)
  11/6/2017   Wire   ZHANG JUNWEI             Employee Payment                (1,264.71)
  11/6/2017   Wire   ZHENG JIANQIAO           Employee Payment                (1,695.00)
  11/7/2017   ACH    Federal Express          Freight                         (2,277.69)
  11/7/2017   ACH    US CBP                   Customs                        (13,273.53)
  11/7/2017   Wire   WONEEL AMERICA INC Vendor Payments                      (15,496.13)
  11/8/2017   Wire   ADVANTAGE MEDIA SE Warehouse Sevices                     (9,250.00)
  11/8/2017   Wire   PPE                      International Payroll           (5,968.53)
  11/8/2017   Wire   PT MERCINDO GLOBAL Vendor Payments                      (16,863.34)
  11/8/2017   Wire   Trinet                   Employee Payment                (3,977.14)
  11/9/2017   ACH    Federal Express          Freight                           (555.08)
  11/9/2017   Wire   Trinet                   Employee Payment              (124,276.92)
 11/10/2017   Wire   CHANG BANG GLOVES Vendor Payments                        (6,831.36)
 11/10/2017   ACH    Federal Express          Freight                           (317.90)
 11/10/2017   Wire   JJ Glove                 Vendor Payments                (14,042.88)
 11/10/2017   Wire   MIMASU TSUSHO CO.LTVendor Payments                      (14,515.20)
 11/10/2017   Wire   PT MERCINDO GLOBAL Vendor Payments                      (57,653.76)
 11/10/2017   ACH    US CBP                   Customs                         (2,043.78)
 11/10/2017   ACH    US CBP                   Customs                         (6,750.87)
 11/10/2017   Wire   WONEEL AMERICA INC Vendor Payments                      (62,001.38)
 11/13/2017   ACH    AMEX                     Credit Card                    (28,892.28)
 11/13/2017   ACH    Federal Express          Freight                         (3,349.91)
 11/14/2017   Wire   Schwab                   401k                            (9,076.06)
 11/14/2017   ACH    Federal Express          Freight                         (1,471.22)
 11/14/2017   Wire   Trinet                   Employee Payment               (16,779.22)
 11/14/2017   ACH    YRC                      Freight                           (645.84)
 11/15/2017   ACH    YRC                      Freight                           (288.36)
 11/16/2017   ACH    CA Board of Equalization Sales Tax                          (87.36)
 11/17/2017   Wire   LOUIS GEOFFREY GREUEmployee Payment                    (147,500.00)
 11/17/2017   Wire   D Martin                 Freight                         (4,967.07)
 11/17/2017   Wire   PPE                      International Payroll          (39,992.43)
 11/17/2017   Wire   Trinet                   Employee Payment              (344,261.00)
 11/17/2017   ACH    US CBP                   Customs                         (3,038.21)
 11/17/2017   ACH    US CBP                   Customs                        (68,851.48)
 11/20/2017   ACH    AMEX                     Credit
                                                Page Card
                                                      5 of 16                (31,604.00)
 11/20/2017   ACH    Federal Express          Freight                         (2,929.68)
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48 Desc
11/20/2017 ACH     IPFS                       Insurance Page 16 of 47
                                   Main Document                                     (5,648.45)
11/20/2017 Wire    KARTIKO SRI KUNCOROEmployee Payment                              (15,000.00)
11/20/2017 Wire    Trinet                     Employee Payment                      (25,812.40)
11/21/2017 ACH     Federal Express            Freight                                (1,552.53)
11/21/2017 Wire    ZHENG JIANQIAO             Employee Payment                      (10,000.00)
11/22/2017 Wire    AML UNITED LIMITED Vendor Payments                                (4,259.52)
11/22/2017 ACH     Federal Express            Freight                                   (17.70)
11/22/2017 Wire    MIMASU TSUSHO CO.LTVendor Payments                               (81,256.32)
11/22/2017 Wire    PT MERCINDO GLOBAL Vendor Payments                              (101,999.30)
11/22/2017 Wire    Trinet                     Employee Payment                      (13,924.67)
11/22/2017 ACH     YRC                        Freight                                   (54.67)
11/27/2017 ACH     Federal Express            Freight                                (3,351.41)
11/27/2017 Wire    Trinet                     Employee Payment                       (3,389.21)
11/28/2017 ACH     Federal Express            Freight                                  (762.45)
11/28/2017 Wire    Trinet                     Employee Payment                       (4,598.14)
11/29/2017 Wire    Schwab                     401k                                  (32,096.40)
11/29/2017 ACH     Federal Express            Freight                                   (92.88)
 11/1/2017   5609 Business Systems IntegratorIT Expense                                (695.00)
 11/1/2017   5666 1920 Hutton Court           Rent                                  (10,637.78)
 11/2/2017   5662 Abraham Feld                Employee Expense Reimbursement           (151.92)
 11/6/2017   5672 Stephanie Dixon             Employee Expense Reimbursement           (845.00)
 11/9/2017   5690 Stephanie Dixon             Employee Expense Reimbursement           (980.00)
11/10/2017   5674 Abraham Feld                Employee Expense Reimbursement           (100.00)
11/10/2017   5693 Xin Guo                     Employee Expense Reimbursement           (100.00)
11/10/2017   5680 Jason Merchant              Employee Expense Reimbursement           (100.00)
11/10/2017   5679 Eric Jaeger                 Employee Expense Reimbursement           (150.00)
11/10/2017   5691 Turner VonAlman             Employee Expense Reimbursement           (470.96)
11/10/2017   5676 Chris Day                   Employee Expense Reimbursement         (2,665.35)
11/13/2017   5677 Daniel Urena                Employee Expense Reimbursement           (100.00)
11/13/2017   5686 Mike Fowler                 Employee Expense Reimbursement         (1,272.93)
11/13/2017   5688 Ron Broussard               Employee Expense Reimbursement         (4,961.24)
11/14/2017   5675 Chartrice Morris            Employee Expense Reimbursement           (172.32)
11/15/2017   5611 Cheryl A. Washington        Employee Expense Reimbursement            (34.05)
11/15/2017   5683 Ken Rogus                   Employee Expense Reimbursement           (159.20)
11/15/2017   5696 CIS Custom Information IT Expense                                    (462.50)
11/15/2017   5705 WorldBridge Logistics, Inc. Freight                                (6,231.21)
11/15/2017   5708 Matthew Pliskin             CFO Salary and Expense Reimbursement  (20,132.36)
11/15/2017   5709 Louis Geoffrey Greulich CEO Salary and Expense Reimbursement      (22,062.62)
11/17/2017   5731 Stacy Metzler               Employee Expense Reimbursement            (82.63)
11/17/2017   5694 Atmos Energy                Gas Bill                                 (110.19)
11/17/2017   5700 Republic Services # 794     Waste                                    (341.10)
11/17/2017   5698 Hewlett Packard             IT Expense                               (364.80)
11/17/2017   5671 Synetra                     IT Expense                             (2,882.16)
11/17/2017   5695 BNSF LOGISTICS INTERNFreight                                       (3,485.43)
11/20/2017   5685 Markham Nacion              Employee Expense Reimbursement           (100.00)
11/20/2017   5678 Derek Eshleman              Employee Expense Reimbursement           (100.00)
11/20/2017   5681 Jeff Dooley                 Employee Expense Reimbursement           (150.00)
11/20/2017   5730 Stephanie Dixon             Employee   Expense Reimbursement
                                                Page 5 of 16
                                                                                       (335.00)
11/20/2017   5755 Cheryl A. Washington        Employee Expense Reimbursement           (364.66)
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48 Desc
11/20/2017   5728 Safeco Building MaintenancCleaning
                                    Main Document        Page 17 of 47          (646.35)
11/20/2017   5699 ITC-Diligence, Inc.        Freight                          (2,019.04)
11/20/2017   5684 Lisa Patterson             Employee Expense Reimbursement   (3,582.79)
11/20/2017   5701 Risk Consulting Partners Insurance                          (6,270.51)
11/20/2017   5711 Synetra                    IT Expense                       (6,413.83)
11/20/2017   5710 Account Temps              Temp Salary                     (19,543.38)
11/20/2017   5754 Matthew Pliskin            CFO Bonus                       (27,000.00)
11/27/2018   5650 Robert Hildebrand          Employee Expense Reimbursement     (150.05)
11/27/2017   5702 Russ MacDonald             Commission                           (5.60)
11/27/2017   5719 Cortera                    Credit Check                        (15.99)
11/27/2017   5703 Tim Balcome                Commission                          (33.90)
11/27/2017   5706 Leigh Bennett              Commission                          (72.52)
11/27/2017   5718 Commerce Technologies, InIT Expense                           (142.75)
11/27/2017   5756 Jodi Frank                 Employee Expense Reimbursement     (642.13)
11/27/2017   5729 SPS Commerce               IT Expense                         (715.97)
11/27/2017   5722 Liaison Technologies, Inc. IT Expense                         (945.00)
11/27/2017   5733 TXU Energy                 Electricity                      (2,109.85)
11/28/2017   5717 Coast to Coast Computer Pr IT Expense                         (779.97)
11/28/2017   5723 Pacific Stock Transfer CompPublic Company Expense             (857.00)
11/29/2018   5687 Robert Hildebrand          Employee Expense Reimbursement     (138.52)
11/29/2017   5707 Pestilli & Associates      Commission                          (66.25)
11/29/2017   5725 Pestilli & Associates      Commission                         (256.52)
11/29/2017   5726 Republic Services # 794    Waste                              (349.98)
11/29/2017   5735 Windstream                 Internet                         (1,730.86)

                                    TOTAL DISBURSEMENTS THIS PERIOD:        (1,623,842.34)




                                         Page 5 of 16
                Case 1:17-bk-12408-MB                          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48         Desc
                                                                 PAYROLL
                                                               Main      ACCOUNT
                                                                    Document     Page 18 of 47
                                                               BANK RECONCILIATION

                            Bank statement Date:                               11/30/2017 Balance on Statement:   $137,955.19

Plus deposits in transit (a):
                                                                       Deposit Date             Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount
                         5540                                                   9/20/2017                341.10
                         5553                                                   9/20/2017                150.00
                         5557                                                   9/20/2017                575.38
                         5567                                                   9/21/2017                 14.25
                         5596                                                   10/6/2017                575.38
                         5634                                                  10/13/2017                125.00
                         5692                                                   11/7/2017                150.00
                         5697                                                   11/7/2017              2,400.33
                         5704                                                   11/7/2017                250.00
                         5712                                                  11/14/2017                246.08
                         5716                                                  11/14/2017              3,241.20
                         5720                                                  11/14/2017              4,044.22
                         5721                                                  11/14/2017                 50.12
                         5724                                                  11/14/2017                150.00
                         5727                                                  11/14/2017                120.64
                         5732                                                  11/14/2017                142.68
                         5734                                                  11/14/2017                 63.61
                         5757                                                  11/14/2017             12,500.00
                         5758                                                  11/27/2017                150.00
                         5759                                                  11/27/2017              4,875.00
                         5760                                                  11/27/2017                416.43
                         5762                                                  11/28/2017                375.00


TOTAL OUTSTANDING CHECKS:                                                                                           30,956.42

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                            $106,998.77

* It is acceptable to replace this form with a similar form                      Page 6 of 16
** Please attach a detailed explanation of any bank statement adjustment
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                    Desc
                                                        Main Document     Page 19 of 47




       IRONCLAD PERFORMANCE WEAR CORPORATION
       DISBURSEMENT ACCOUNT                                                       4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       SUITE 300
       1920 HUTTON CT
       DALLAS TX 75234




ACCOUNT SUMMARY                             FOR PERIOD NOVEMBER 01, 2017 - NOVEMBER 30, 2017



Previous Balance 10/31/17                               $61,797.53          Number of Days in Cycle                                30
10 Deposits/Credits                                  $1,700,000.00          Minimum Balance This Cycle                     $43,730.48
117 Checks/Debits                                  ($1,623,842.34)          Average Collected Balance                     $148,336.86
Service Charges                                              $0.00
Ending Balance 11/30/17                                $137,955.19

ACCOUNT DETAIL                      FOR PERIOD NOVEMBER 01, 2017            - NOVEMBER 30, 2017


Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
11/01      ACH Withdrawal US CBP           PAYMENT                                                     $6,734.27               $55,063.26
           110117 IRONCLAD PERFORMANCE 0000
11/01      Check      5666                                                                           $10,637.78               $44,425.48
11/01      Check      5609                                                                              $695.00               $43,730.48
11/02      Book transfer credit FROM ...0567                               $150,000.00                                       $193,730.48
11/02      Wire transfer withdrawal ADVANTAGE                                                          $9,250.00             $184,480.48
           MEDIA SERVICES 110217
           USD0002468574
11/02      ACH Withdrawal FEDERAL EXPRESS                                                                $102.46             $184,378.02
           DEBIT 110217 IRONCLAD PERFORMANCE
           W MMA26061436
11/02      Check      5662                                                                              $151.92              $184,226.10
11/03      International Wire Transfer Dr CHANG                                                      $42,956.04              $141,270.06
           BANG GLOVE S(HONG KON 110317
           USD0002478306
11/03      Wire transfer withdrawal RESOURCES                                                          $2,000.00             $139,270.06
           GLOBAL PROFESSIO 110317
           USD0002477303




                                                           Thank you for banking with us.                                   PAGE 1 OF 8

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  Case 1:17-bk-12408-MB         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                  Desc
                                Main Document     Page 20 of 47




ACCOUNT DETAIL         CONTINUED FOR PERIOD NOVEMBER 01, 2017          - NOVEMBER 30, 2017
Date    Description                                 Deposits/Credits   Withdrawals/Debits        Resulting Balance
11/03   Wire transfer withdrawal ADVANTAGE                                      $23,250.00                $116,020.06
        MEDIA SERVICES 110317
        USD0002477337
11/06   Book transfer credit FROM ...0567               $100,000.00                                       $216,020.06
11/06   International Wire Transfer Dr ZHANG                                     $1,264.71                $214,755.35
        JUNWEI 110617 USD0002480768
11/06   International Wire Transfer Dr ZHENG                                     $1,695.00                $213,060.35
        JIANQIAO 110617 USD0002480793
11/06   International Wire Transfer Dr                                          $14,042.88                $199,017.47
        ILKWANGISCOLTD 110617
        USD0002478447
11/06   ACH Withdrawal FEDERAL EXPRESS                                           $2,763.91                $196,253.56
        DEBIT 110617 IRONCLAD PERFORMANCE
        W MMA26092658
11/06   ACH Withdrawal YRC NATIONAL                                                $848.24                $195,405.32
        EPAYMENTS 110617 IRONCLAD
        PERFORMANCE W           143QK7Z5GI
11/06   Check      5672                                                            $845.00                $194,560.32
11/07   Wire transfer withdrawal WONEEL                                         $15,496.13                $179,064.19
        AMERICA I NC 110717 USD0002488775
11/07   ACH Withdrawal US CBP           PAYMENT                                 $13,273.53                $165,790.66
        110717 IRONCLAD PERFORMANCE 0000
11/07   ACH Withdrawal FEDERAL EXPRESS                                           $2,277.69                $163,512.97
        DEBIT 110717 IRONCLAD PERFORMANCE
        W MMA26108717
11/08   Book transfer credit FROM ...0567               $100,000.00                                       $263,512.97
11/08   International Wire Transfer Dr TRINET                                    $3,977.14                $259,535.83
        EMPLOYER GROUP CANA 110817
        CAD0002490069
11/08   International Wire Transfer Dr PPE                                       $5,968.53                $253,567.30
        110817 GBP0002490074
11/08   International Wire Transfer Dr PT                                       $16,863.34                $236,703.96
        MERCINDO GLOB AL MANUIFA 110817
        USD0002490056
11/08   Wire transfer withdrawal ADVANTAGE                                       $9,250.00                $227,453.96
        MEDIA SERVICES 110817
        USD0002492320
11/09   Wire transfer withdrawal TRINET HR III,IN                             $124,276.92                 $103,177.04
        C 110917 USD0002496281
11/09   ACH Withdrawal FEDERAL EXPRESS                                             $555.08                $102,621.96
        DEBIT 110917 IRONCLAD PERFORMANCE
        W MMA26143944
11/09   Check      5690                                                            $980.00                $101,641.96
11/10   Book transfer credit FROM ...0567               $150,000.00                                       $251,641.96
11/10   International Wire Transfer Dr CHANG                                     $6,831.36                $244,810.60
        BANG GLOVE S(HONG KON 111017
        USD0002506433


                                                                                                  PAGE 2 OF 8



                                                                                             PSI: 0 / SHC: 0 / LOB :C
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                        Main Document     Page 21 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 DISBURSEMENT ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
 Date        Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 11/10       International Wire Transfer Dr                                                        $14,042.88        $230,767.72
             ILKWANGISCOLTD 111017
             USD0002506400
 11/10       International Wire Transfer Dr MIMASU                                                 $14,515.20        $216,252.52
             TSUSHO CO .LTD 111017
             USD0002506586
 11/10       International Wire Transfer Dr PT                                                     $57,653.76        $158,598.76
             MERCINDO GLOB AL MANUIFA 111017
             USD0002506457
 11/10       Wire transfer withdrawal WONEEL                                                       $62,001.38          $96,597.38
             AMERICA I NC 111017 USD0002506473
 11/10       ACH Withdrawal US CBP           PAYMENT                                                $6,750.87          $89,846.51
             111017 IRONCLAD PERFORMANCE 0000
 11/10       ACH Withdrawal US CBP           PAYMENT                                                $2,043.78          $87,802.73
             111017 IRONCLAD PERFORMANCE 0000
 11/10       ACH Withdrawal FEDERAL EXPRESS                                                           $317.90          $87,484.83
             DEBIT 111017 IRONCLAD PERFORMANCE
             W MMA26159187
 11/10       Check      5676                                                                        $2,665.35          $84,819.48
 11/10       Check      5691                                                                          $470.96          $84,348.52
 11/10       Check      5679                                                                          $150.00          $84,198.52
 11/10       Check      5680                                                                          $100.00          $84,098.52
 11/10       Check      5693                                                                          $100.00          $83,998.52
 11/10       Check      5674                                                                          $100.00          $83,898.52
 11/13       ACH Withdrawal AMEX EPAYMENT ACH                                                      $28,892.28          $55,006.24
             PMT 111317 WILLIAM AISENBERG
             R9604
 11/13       ACH Withdrawal FEDERAL EXPRESS                                                         $3,349.91          $51,656.33
             DEBIT 111317 IRONCLAD PERFORMANCE
             W MMA26175053
 11/13       Check      5688                                                                        $4,961.24         $46,695.09
 11/13       Check      5686                                                                        $1,272.93         $45,422.16
 11/13       Check      5677                                                                          $100.00         $45,322.16
 11/14       Book transfer credit FROM ...0567                             $100,000.00                               $145,322.16
 11/14       Wire transfer withdrawal CHARLES                                                       $9,076.06        $136,246.10
             SCHWAB B ANK 111417 USD0002515397
 11/14       Wire transfer withdrawal TRINET HR III,IN                                             $16,779.22        $119,466.88
             C 111417 USD0002515816
 11/14       ACH Withdrawal FEDERAL EXPRESS                                                         $1,471.22        $117,995.66
             DEBIT 111417 IRONCLAD PERFORMANCE
             W MMA26191519



                                                                                                                   PAGE 3 OF 8

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  Case 1:17-bk-12408-MB          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48            Desc
                                 Main Document     Page 22 of 47




ACCOUNT DETAIL         CONTINUED FOR PERIOD NOVEMBER 01, 2017          - NOVEMBER 30, 2017
Date    Description                                 Deposits/Credits   Withdrawals/Debits    Resulting Balance
11/14   ACH Withdrawal YRC NATIONAL                                                $645.84        $117,349.82
        EPAYMENTS 111417 IRONCLAD
        PERFORMANCE W           143QKDT7IC
11/14   Check      5675                                                            $172.32        $117,177.50
11/15   ACH Withdrawal YRC NATIONAL                                                $288.36        $116,889.14
        EPAYMENTS 111517 IRONCLAD
        PERFORMANCE W           143QKE5XR9
11/15   Check      5709                                                         $22,062.62         $94,826.52
11/15   Check      5708                                                         $20,132.36         $74,694.16
11/15   Check      5705                                                          $6,231.21         $68,462.95
11/15   Check      5696                                                            $462.50         $68,000.45
11/15   Check      5683                                                            $159.20         $67,841.25
11/15   Check      5611                                                             $34.05         $67,807.20
11/16   Book transfer credit FROM ...3806               $100,000.00                               $167,807.20
11/16   ACH Withdrawal BOARDEQUALIZATIO                                             $87.36        $167,719.84
        BOE E-FILE 111617 IRONCLAD
        PERFORMANCE W 00071946205
11/17   Book transfer credit FROM ...3806               $400,000.00                               $567,719.84
11/17   Book transfer credit FROM ...3806               $200,000.00                               $767,719.84
11/17   International Wire Transfer Dr MR D                                      $4,967.07        $762,752.77
        MARTIN 111717 USD0002534486
11/17   International Wire Transfer Dr PPE                                      $39,992.43        $722,760.34
        111717 GBP0002538984
11/17   Wire transfer withdrawal LOUIS                                        $147,500.00         $575,260.34
        GEOFFREY G REULICH 111717
        USD0002538180
11/17   Wire transfer withdrawal TRINET HR III,IN                             $344,261.00         $230,999.34
        C 111717 USD0002540621
11/17   ACH Withdrawal US CBP           PAYMENT                                 $68,851.48        $162,147.86
        111717 IRONCLAD PERFORMANCE 0000
11/17   ACH Withdrawal US CBP           PAYMENT                                  $3,038.21        $159,109.65
        111717 IRONCLAD PERFORMANCE 0000
11/17   Check      5695                                                          $3,485.43        $155,624.22
11/17   Check      5671                                                          $2,882.16        $152,742.06
11/17   Check      5698                                                            $364.80        $152,377.26
11/17   Check      5700                                                            $341.10        $152,036.16
11/17   Check      5694                                                            $110.19        $151,925.97
11/17   Check      5731                                                             $82.63        $151,843.34
11/20   Book transfer credit FROM ...3806               $100,000.00                               $251,843.34
11/20   International Wire Transfer Dr KARTIKO                                  $15,000.00        $236,843.34
        SRI KUNC ORO 112017 USD0002540996
11/20   Wire transfer withdrawal TRINET HR III,IN                               $25,812.40        $211,030.94
        C 112017 USD0002545229
11/20   ACH Withdrawal AMEX EPAYMENT ACH                                        $31,604.00        $179,426.94
        PMT 112017 WILLIAM AISENBERG
        R1414


                                                                                                  PAGE 4 OF 8
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                        Main Document     Page 23 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 DISBURSEMENT ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
 Date        Description                                               Deposits/Credits   Withdrawals/Debits    Resulting Balance
 11/20       ACH Withdrawal IPFS866-412-2561                                                        $5,648.45        $173,778.49
             IPFSPMTMOK 112017 IRONCLAD
             PERFORMANCE W 688330
 11/20       ACH Withdrawal FEDERAL EXPRESS                                                         $2,929.68        $170,848.81
             DEBIT 112017 IRONCLAD PERFORMANCE
             W MMA26254254
 11/20       Check      5754                                                                       $27,000.00        $143,848.81
 11/20       Check      5710                                                                       $19,543.38        $124,305.43
 11/20       Check      5711                                                                        $6,413.83        $117,891.60
 11/20       Check      5701                                                                        $6,270.51        $111,621.09
 11/20       Check      5684                                                                        $3,582.79        $108,038.30
 11/20       Check      5699                                                                        $2,019.04        $106,019.26
 11/20       Check      5728                                                                          $646.35        $105,372.91
 11/20       Check      5755                                                                          $364.66        $105,008.25
 11/20       Check      5730                                                                          $335.00        $104,673.25
 11/20       Check      5681                                                                          $150.00        $104,523.25
 11/20       Check      5678                                                                          $100.00        $104,423.25
 11/20       Check      5685                                                                          $100.00        $104,323.25
 11/21       Book transfer credit FROM ...3806                             $300,000.00                               $404,323.25
 11/21       International Wire Transfer Dr ZHENG                                                  $10,000.00        $394,323.25
             JIANQIAO 112117 USD0002552488
 11/21       ACH Withdrawal FEDERAL EXPRESS                                                         $1,552.53        $392,770.72
             DEBIT 112117 IRONCLAD PERFORMANCE
             W MMA26270579
 11/22       International Wire Transfer Dr AML                                                     $4,259.52        $388,511.20
             UNITED LIMIT ED 112217
             USD0002554252
 11/22       International Wire Transfer Dr MIMASU                                                 $81,256.32        $307,254.88
             TSUSHO CO .LTD 112217
             USD0002554336
 11/22       International Wire Transfer Dr PT                                                   $101,999.30         $205,255.58
             MERCINDO GLOB AL MANUIFA 112217
             USD0002554383
 11/22       Wire transfer withdrawal TRINET HR III,IN                                             $13,924.67        $191,330.91
             C 112217 USD0002554442
 11/22       ACH Withdrawal YRC NATIONAL                                                               $54.67        $191,276.24
             EPAYMENTS 112217 IRONCLAD
             PERFORMANCE W           143QKI7FYM
 11/22       ACH Withdrawal FEDERAL EXPRESS                                                            $17.70        $191,258.54
             DEBIT 112217 IRONCLAD PERFORMANCE
             W MMA26288961



                                                                                                                   PAGE 5 OF 8

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   Case 1:17-bk-12408-MB                Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                  Desc
                                        Main Document     Page 24 of 47




ACCOUNT DETAIL              CONTINUED FOR PERIOD NOVEMBER 01, 2017               - NOVEMBER 30, 2017
Date    Description                                         Deposits/Credits     Withdrawals/Debits       Resulting Balance
11/22   Check      5715                                                                      $4,875.00         $186,383.54
11/22   Check      5689                                                                        $416.43         $185,967.11
11/22   Check      5704                                                                        $250.00         $185,717.11
11/24   Reverse customer withdrawal                                  $4,875.00                                 $190,592.11
11/24   Reverse customer withdrawal                                    $416.43                                 $191,008.54
11/24   Reverse customer withdrawal                                    $250.00                                 $191,258.54
11/27   Wire transfer withdrawal TRINET HR III,IN                                            $3,389.21         $187,869.33
        C 112717 USD0002567903
11/27   ACH Withdrawal FEDERAL EXPRESS                                                       $3,351.41         $184,517.92
        DEBIT 112717 IRONCLAD PERFORMANCE
        W MMA26335815
11/27   Check      5733                                                                      $2,109.85         $182,408.07
11/27   Check      5722                                                                        $945.00         $181,463.07
11/27   Check      5729                                                                        $715.97         $180,747.10
11/27   Check      5756                                                                        $642.13         $180,104.97
11/27   Check      5650                                                                        $150.05         $179,954.92
11/27   Check      5718                                                                        $142.75         $179,812.17
11/27   Check      5706                                                                         $72.52         $179,739.65
11/27   Check      5703                                                                         $33.90         $179,705.75
11/27   Check      5719                                                                         $15.99         $179,689.76
11/27   Check      5702                                                                          $5.60         $179,684.16
11/28   Wire transfer withdrawal TRINET HR III,IN                                            $4,598.14         $175,086.02
        C 112817 USD0002574860
11/28   ACH Withdrawal FEDERAL EXPRESS                                                        $762.45          $174,323.57
        DEBIT 112817 IRONCLAD PERFORMANCE
        W MMA26351635
11/28   Check      5723                                                                        $857.00         $173,466.57
11/28   Check      5717                                                                        $779.97         $172,686.60
11/29   Wire transfer withdrawal CHARLES                                                    $32,096.40         $140,590.20
        SCHWAB B ANK 112917 USD0002577073
11/29   ACH Withdrawal FEDERAL EXPRESS                                                          $92.88         $140,497.32
        DEBIT 112917 IRONCLAD PERFORMANCE
        W MMA26367954
11/29   Check      5735                                                                      $1,730.86         $138,766.46
11/29   Check      5726                                                                        $349.98         $138,416.48
11/29   Check      5725                                                                        $256.52         $138,159.96
11/29   Check      5687                                                                        $138.52         $138,021.44
11/29   Check      5707                                                                         $66.25         $137,955.19
Total                                                            $1,700,000.00         $1,623,842.34



        * designates gap in check sequence
Check No.    Date                Amount      Check No.   Date             Amount    Check No.     Date             Amount
5609         11/01               $695.00     5650*       11/27            $150.05   5666*         11/01        $10,637.78
5611*        11/15                $34.05     5662*       11/02            $151.92   5671*         11/17         $2,882.16

                                                                                                               PAGE 6 OF 8
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48        Desc
                                                        Main Document     Page 25 of 47




 IRONCLAD PERFORMANCE WEAR CORPORATION
 DISBURSEMENT ACCOUNT
 SUITE 300

 ACCOUNT DETAIL                      CONTINUED FOR PERIOD NOVEMBER 01, 2017            - NOVEMBER 30, 2017
 Check No.         Date                    Amount         Check No.    Date      Amount     Check No.   Date         Amount
 5672              11/06                   $845.00         5693*       11/10      $100.00   5715*       11/22     $4,875.00
 5674*             11/10                   $100.00         5694        11/17      $110.19   5717*       11/28       $779.97
 5675              11/14                   $172.32         5695        11/17    $3,485.43   5718        11/27       $142.75
 5676              11/10                 $2,665.35         5696        11/15      $462.50   5719        11/27        $15.99
 5677              11/13                   $100.00         5698*       11/17      $364.80   5722*       11/27       $945.00
 5678              11/20                   $100.00         5699        11/20    $2,019.04   5723        11/28       $857.00
 5679              11/10                   $150.00         5700        11/17      $341.10   5725*       11/29       $256.52
 5680              11/10                   $100.00         5701        11/20    $6,270.51   5726        11/29       $349.98
 5681              11/20                   $150.00         5702        11/27        $5.60   5728*       11/20       $646.35
 5683*             11/15                   $159.20         5703        11/27       $33.90   5729        11/27       $715.97
 5684              11/20                 $3,582.79         5704        11/22      $250.00   5730        11/20       $335.00
 5685              11/20                   $100.00         5705        11/15    $6,231.21   5731        11/17        $82.63
 5686              11/13                 $1,272.93         5706        11/27       $72.52   5733*       11/27     $2,109.85
 5687              11/29                   $138.52         5707        11/29       $66.25   5735*       11/29     $1,730.86
 5688              11/13                 $4,961.24         5708        11/15   $20,132.36   5754*       11/20    $27,000.00
 5689              11/22                   $416.43         5709        11/15   $22,062.62   5755        11/20       $364.66
 5690              11/09                   $980.00         5710        11/20   $19,543.38   5756        11/27       $642.13
 5691              11/10                   $470.96         5711        11/20    $6,413.83




                                                                                                                PAGE 7 OF 8

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Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   Desc
                        Main Document     Page 26 of 47




                                                                              PAGE 8 OF 8
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   Desc
                        I. CASH RECEIPTS  AND DISBURSEMENTS
                                 Main Document      Page 27 of 47
                                    C. (DIP Account)

1. TOTAL RECEIPTS PER ALL PRIOR DIP ACCOUNT REPORTS                     1,400,000.00

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP                            199,000.00
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                   1,201,000.00

4. RECEIPTS DURING CURRENT PERIOD:                                        980,526.51
   (Transferred from General Account)

5. BALANCE:                                                             2,181,526.51

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                  (1,100,000.00)

7. ENDING BALANCE:                                                      1,081,526.51

8. DIP Account Number(s):                                     806

  Depository Name & Location:              Capital One




                                         Page 7 of 16
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48       Desc
           TOTAL DISBURSEMENTS   FROM
                              Main     DIP ACCOUNT
                                   Document           FOR
                                                Page 28    CURRENT PERIOD
                                                        of 47


  Date     Check
mm/dd/yyyy Number             Payee                            Purpose          Amount
 11/16/2017   xfer   Disbursement Account                                       (100,000.00)
 11/17/2017   xfer   Disbursement Account                                       (400,000.00)
 11/17/2017   xfer   Disbursement Account                                       (200,000.00)
 11/20/2017   xfer   Disbursement Account                                       (100,000.00)
 11/21/2017   xfer   Disbursement Account                                       (300,000.00)




                                                Page 8 of 16
                                            TOTAL DISBURSEMENTS THIS PERIOD:   (1,100,000.00)
          Case 1:17-bk-12408-MB                         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                    Desc
                                                        Main Document     Page 29 of 47




       IRONCLAD PERFORMANCE WEAR CORPORATION
       "DIP" CENTRAL DISTRICT OF CALIFORNIA                                       4Contact your Relationship Manager to discuss
                                                                                    targeted solutions for your evolving business needs.
       CASE # 1:17-BK-12408-MB
       1920 HUTTON CT, SUITE 300
       DALLAS TX 75234-9017




ACCOUNT SUMMARY                             FOR PERIOD NOVEMBER 01, 2017 - NOVEMBER 30, 2017



Previous Balance 10/31/17                            $1,201,000.00          Number of Days in Cycle                                30
13 Deposits/Credits                                    $980,526.51          Minimum Balance This Cycle                    $631,879.64
5 Checks/Debits                                    ($1,100,000.00)          Average Collected Balance                   $1,139,770.64
Service Charges                                              $0.00
Ending Balance 11/30/17                              $1,081,526.51

ACCOUNT DETAIL                      FOR PERIOD NOVEMBER 01, 2017            - NOVEMBER 30, 2017


Date       Description                                                 Deposits/Credits   Withdrawals/Debits          Resulting Balance
11/01      Funding Transfer Credit Transfer from                           $124,736.86                                     $1,325,736.86
           4670100567
11/09      Funding Transfer Credit Transfer from                            $39,821.32                                     $1,365,558.18
           4670100567
11/15      Funding Transfer Credit Transfer from                           $251,108.02                                     $1,616,666.20
           4670100567
11/16      Funding Transfer Credit Transfer from                            $33,951.21                                     $1,650,617.41
           4670100567
11/16      Book transfer debit TO ...0575                                                           $100,000.00            $1,550,617.41
11/17      Funding Transfer Credit Transfer from                              $1,953.66                                    $1,552,571.07
           4670100567
11/17      Book transfer debit TO ...0575                                                           $200,000.00            $1,352,571.07
11/17      Book transfer debit TO ...0575                                                           $400,000.00              $952,571.07
11/20      Funding Transfer Credit Transfer from                            $33,517.68                                       $986,088.75
           4670100567
11/20      Book transfer debit TO ...0575                                                           $100,000.00              $886,088.75
11/21      Funding Transfer Credit Transfer from                            $45,790.89                                       $931,879.64
           4670100567
11/21      Book transfer debit TO ...0575                                                           $300,000.00              $631,879.64



                                                           Thank you for banking with us.                                   PAGE 1 OF 2

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   Case 1:17-bk-12408-MB          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48              Desc
                                  Main Document     Page 30 of 47




ACCOUNT DETAIL          CONTINUED FOR PERIOD NOVEMBER 01, 2017       - NOVEMBER 30, 2017
Date    Description                               Deposits/Credits   Withdrawals/Debits        Resulting Balance
11/22   Funding Transfer Credit Transfer from          $61,680.46                                       $693,560.10
        4670100567
11/24   Funding Transfer Credit Transfer from         $109,657.32                                       $803,217.42
        4670100567
11/27   Funding Transfer Credit Transfer from         $101,614.94                                       $904,832.36
        4670100567
11/28   Funding Transfer Credit Transfer from         $124,208.22                                    $1,029,040.58
        4670100567
11/29   Funding Transfer Credit Transfer from            $9,697.64                                   $1,038,738.22
        4670100567
11/30   Funding Transfer Credit Transfer from          $42,788.29                                    $1,081,526.51
        4670100567
Total                                                 $980,526.51          $1,100,000.00




                                                                                                PAGE 2 OF 2



                                                                                           PSI: 0 / SHC: 0 / LOB :C
                Case 1:17-bk-12408-MB                          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48           Desc
                                                               Main DIP ACCOUNT Page 31 of 47
                                                                    Document
                                                               BANK RECONCILIATION

                            Bank statement Date:                               11/30/2017 Balance on Statement:   $1,081,526.51

Plus deposits in transit (a):
                                                                       Deposit Date             Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                  0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                  0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                            $1,081,526.51

* It is acceptable to replace this form with a similar form                      Page 9 of 16
** Please attach a detailed explanation of any bank statement adjustment
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   Desc
                        I. CASH RECEIPTS  AND DISBURSEMENTS
                                 Main Document      Page 32 of 47
                                   C. (Trust Account)

1. TOTAL RECEIPTS PER ALL PRIOR DIP ACCOUNT REPORTS

2. LESS: TOTAL DISBURSEMENTS PER ALL PRIOR DIP
ACCOUNT REPORTS

3. BEGINNING BALANCE:                                                         145.21

4. RECEIPTS DURING CURRENT PERIOD:                                     25,512,282.95
   (Received from sale of Copany Assets)

5. BALANCE:                                                            25,512,428.16

6. LESS: TOTAL DISBURSEMENTS DURING CURRENT PERIOD
   TOTAL DISBURSEMENTS THIS PERIOD:***                                  (9,157,418.18)

7. ENDING BALANCE:                                                     16,355,009.98

8. DIP Account Number(s):

  Depository Name & Location:                Capital One




                                           Page 7 of 16
        Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48    Desc
          TOTAL DISBURSEMENTS   FROM
                              Main   TRUST ACCOUNT
                                   Document     Page 33FOR
                                                        of 47CURRENT PERIOD


  Date     Check
mm/dd/yyyy Number            Payee                            Purpose         Amount
 11/15/2017         Nantong Changbang GlovesPre-petition debt               (1,228,307.56)
 11/15/2017         Woneel Midas Leathers      Pre-petition debt              (785,358.50)
 11/15/2017         Mercindo Global ManufaktuPre-petition debt                (444,674.64)
 11/15/2017         Marusan – Mimasu TshushoPre-petition debt                 (382,811.28)
 11/15/2017         Grainger                   Partial cure payment           (180,000.00)
 11/15/2017         Advantage Media Services Pre-petition debt                (178,522.75)
 11/15/2017         PT JJ Gloves Indo          Pre-petition debt              (162,917.76)
 11/15/2017         PT Sport Glove Indonesia Pre-petition debt                (144,238.66)
 11/15/2017         Windspeed Sports ShanghaiPre-petition debt                (152,830.45)
 11/15/2017         Ka Hung Glove Industrial CPre-petition debt                (38,934.90)
 11/15/2017         Synetra                    Pre-petition debt               (37,972.33)
 11/15/2017         AML United Limited         Pre-petition debt               (28,330.56)
 11/15/2017         1920 Hutton Court          Pre-petition debt               (13,257.09)
 11/15/2017         PT Seok HWA Indonesia Pre-petition debt                    (13,174.86)
 11/15/2017         Design Gallery (Pvt.) Ltd. Pre-petition debt               (12,801.60)
 11/15/2017         Desun Garments, Ltd.       Pre-petition debt                (7,691.75)
 11/15/2017         Konica Minolta             Pre-petition debt                (1,152.31)
 11/15/2017         Pitney Bowes               Pre-petition debt                  (452.99)
 11/15/2017         Radians Wareham Holding, Secured debt repayment         (5,343,988.19)




                                               Page 8 of 16
                                         TOTAL DISBURSEMENTS THIS PERIOD:   (9,157,418.18)
                Case 1:17-bk-12408-MB                          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48            Desc
                                                                  TRUST
                                                               Main     ACCOUNT
                                                                    Document     Page 34 of 47
                                                               BANK RECONCILIATION

                            Bank statement Date:                               11/30/2017 Balance on Statement:   $16,355,009.98

Plus deposits in transit (a):
                                                                       Deposit Date             Deposit Amount




TOTAL DEPOSITS IN TRANSIT                                                                                                   0.00

Less Outstanding Checks (a):
                    Check Number                                           Check Date           Check Amount




TOTAL OUTSTANDING CHECKS:                                                                                                   0.00

Bank statement Adjustments:
Explanation of Adjustments-




ADJUSTED BANK BALANCE:                                                                                            $16,355,009.98

* It is acceptable to replace this form with a similar form                      Page 9 of 16
** Please attach a detailed explanation of any bank statement adjustment
Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   D
                        Main Document     Page 35 of 47
Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   D
                        Main Document     Page 36 of 47
Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   D
                        Main Document     Page 37 of 47
Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   D
                        Main Document     Page 38 of 47
Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   D
                        Main Document     Page 39 of 47
Case 1:17-bk-12408-MB   Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48   D
                        Main Document     Page 40 of 47
               Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                                                      Desc
                                   I. D SUMMARY   SCHEDULE
                                         Main Document     OF 41
                                                        Page  CASH
                                                                 of 47

ENDING BALANCES FOR THE PERIOD:
                               (Provide a copy of monthly account statements for each of the below)


                                                                    General Account:                               213,987.00
                                                              Disbursements Account:                               137,955.19
                                                                       DIP Account:                              1,081,526.51
                                                                      Trust Account:                            16,355,009.98
    *Other Accounts:                                               Schwab                                          276,270.34


       *Other Monies:
                                                         **Petty Cash (from below):                                           0.00

TOTAL CASH AVAILABLE:                                                                                                                18,064,749.02


Petty Cash Transactions:
        Date                                 Purpose                                                             Amount




TOTAL PETTY CASH TRANSACTIONS:                                                                                                                0.00



* Specify the Type of holding (e.g. CD, Savings Account, Investment Security), and the depository name, location & account#
** Attach Exhibit Itemizing all petty cash transactions




                                                                                  Page 10 of 16
             Case II.
                  1:17-bk-12408-MB       Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48
                      STATUS OF PAYMENTS TO SECURED CREDITORS, LESSORS
                                                                                                                        Desc
                                          Main
                        AND OTHER PARTIES TO    Document
                                             EXECUTORY       Page 42 of 47
                                                       CONTRACTS

                                                                        Post-Petition
                             Frequency of Payments                   payments not made
  Creditor, Lessor, Etc.           (Mo/Qtr)        Amount of Payment     (Number)                    Total Due
1920 Hutton Court            Monthly                          (10,637.78)                      0                 0.00

See disbursements schedule for disbusemetns to contracting parties




                                                                                    TOTAL DUE:                   0.00



                                               III. TAX LIABILITIES

FOR THE REPORTING PERIOD:
                                                              Gross Sales Subject to Sales Tax:          46,796.96      CA      164.25
                                                                            Total Wages Paid:           389,916.89      TX     46632.7

                                                      Total Post-Petition                          Date Delinquent
                                                       Amounts Owing          Amount Delinquent     Amount Due
                             Federal Withholding      N/A
                             State Withholding        N/A
                             FICA- Employer's Share   N/A
                             FICA- Employee's Share   N/A
                             Federal Unemployment     N/A
                             Sales and Use                        540.12
                             Real Property                      8,153.00
                    Other:
                                           TOTAL:               8,693.12                    0.00




                                                                            Page 11 of 16
              Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                                                              Desc
                           IV. AGING OF ACCOUNTS
                                      Main       PAYABLE
                                           Document   Page AND
                                                           43 of RECEIVABLE
                                                                 47

                                                                            *Accounts Payable                           Accounts Receivable
                                                                              Post-Petition                        Pre-Petition     Post-Petition
                                                            30 days or less     1,460,761.50                                 0.00        11,385.22
                                                              31 - 60 days                                                   0.00
                                                              61 - 90 days                                                   0.00
                                                             91 - 120 days                                                   0.00
                                                            Over 120 days                                                    0.00
                                                                  TOTAL:        1,460,761.50                                 0.00        11,385.22

                                                            V. INSURANCE COVERAGE

                                                                                        Amount of              Policy Expiration            Premium Paid
                                                        Name of Carrier                 Coverage                     Date                   Through (Date)
                       General Liability See Schedule of Insurance
                 Worker's Compensation
                               Casualty
                                Vehicle
               Others:


                                         VI. UNITED STATES TRUSTEE QUARTERLY FEES
                                                      (TOTAL PAYMENTS)

 Quarterly Period                Total                                                                                                       Quarterly Fees
  Ending (Date)              Disbursements               Quarterly Fees                  Date Paid                Amount Paid                 Still Owing
       30-Sep-2017                  762,044.40                     4,875.00               14-Nov-2017                      4,875.00                             0.00
       30-Sep-2017                        0.00                       325.00               29-Nov-2017                        325.00                             0.00
                                                                                                                                                                0.00
                                                                                                                                                                0.00
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                                                                                                                                                                0.00
                                                                                                                                                                0.00
                                                                   5,200.00                                                5,200.00                             0.00
                                                                           Page 12 of 16
* Post-Petition Accounts Payable SHOULD NOT include professionals' fees and expenses which have been incurred but not yet awarded by the court. Post-Petition
Accounts Payable SHOULD include professionals' fees and expenses authorized by Court Order but which remain unpaid as of the close of the period report
              Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                                         Desc
                            VII SCHEDULE
                                      MainOF COMPENSATION
                                           Document        PAID
                                                      Page 44    TO INSIDERS
                                                              of 47

                                                           Date of Order                                                     Gross
                                                            Authorizing                                                 Compensation Paid
             Name of Insider                               Compensation                  *Authorized Gross Compensation During the Month
Matthew Pliskin                                                          9/25/2017 $18,000 per month plus travel exp          169,562.62
Louis Geoffrey Greulich                                                  9/25/2017 $35,000 per month plus travel exp           47,132.36




                                     VIII. SCHEDULE OF OTHER AMOUNTS PAID TO INSIDERS

                                                           Date of Order
                                                            Authorizing                                                  Amount Paid
             Name of Insider                               Compensation                           Description           During the Month




                                                                            Page 13 of 16
* Please indicate how compensation was identified in the order (e.g. $1,000/week, $2,500/month)
               Case 1:17-bk-12408-MB Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                                     Desc
                                  IX. PROFIT
                                        Main AND LOSS STATEMENT
                                             Document   Page 45 of 47
                                                              (ACCRUAL BASIS ONLY)

                                                                                Current Month          Cumulative Post-Petition
Sales/Revenue:
   Gross Sales/Revenue                                                                  475,357.04               3,280,710.04
   Less: Returns/Discounts                                                                8,860.89                 583,862.89
                                                           Net Sales/Revenue            466,496.15               2,696,847.15

Cost of Goods Sold:
  Cost of Goods Sold                                                                    261,750.50               1,639,404.89
  Cost of Goods Sold - Freight                                                            6,821.28                  67,471.28

                                             Cost of Goods Sold (COGS)                  268,571.78               1,706,876.17

Gross Profit                                                                            197,924.37                 989,970.99

    Other Operating Income (Itemize)

Operating Expenses:
  Payroll - Insiders                                                                    206,750.00                 365,852.47
  Payroll - Other Employees                                                             183,166.89                 926,686.02
  Payroll Taxes                                                                          22,826.25                  51,000.75
  Other Taxes (Itemize)                                                                                                  0.00
  Depreciation and Amortization                                                            9,513.16                 44,346.16
  Rent Expense - Real Property                                                             9,051.73                 26,748.73
  Lease Expense - Personal Property                                                                                  1,124.90
  Insurance                                                                               5,582.92                  22,798.02
  Real Property Taxes                                                                       350.00                   1,200.00
  Telephone and Utilities                                                                 1,717.06                  20,337.66
  Repairs and Maintenance                                                                     0.00                     879.90
  Travel and Entertainment (Itemize)                                                     25,415.45                 120,746.45
  Miscellaneous Operating Expenses (Itemize)                                            138,035.17                 675,833.19
                              Total Operating Expenses                                  602,408.63               2,257,554.25
                                      Net Gain/(Loss) from Operations                   (404,484.26)             (1,267,583.27)

Non-Operating Income:
  Interest Income                                                                           0.00                       (17.60)
  Net Gain on Sale of Assets (Itemize)                                             13,371,358.59                13,371,358.59
  Other (Itemize)
                           Total Non-Operating income                              13,371,358.59                13,371,340.99

Non-Operating Expenses:
  Interest Expense                                                                    530,207.37                   751,602.27
  Legal and Professional (Itemize)                                                  1,224,810.53                 2,068,072.88
  Other (Itemize) - Income Tax Expense                                                185,331.00
                         Total Non-Operating Expenses                               1,940,348.90                 2,819,675.15

NET INCOME/(LOSS)                                                                  11,026,525.43                 9,284,082.57
(Attach exhibit listing all itemizations required above)


                                                                        Page 14 of 16
          Case 1:17-bk-12408-MB         Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48    Desc
                                           X. Document
                                        Main  BALANCE SHEET
                                                          Page 46 of 47
                                            (ACCRUAL BASIS ONLY)

ASSETS                                                           Current Month End
  Current Assets:
  Unrestricted Cash                                                   18,064,749.02
  Restricted Cash
  Accounts Receivable                                                    11,385.22
  Inventory
  Notes Receivable
  Prepaid Expenses
  Other (Itemize)
                                        Total Current Assets                          18,076,134.24

Property, Plant, and Equipment
Accumulated Depreciation/Depletion
                        Net Property, Plant, and Equipment                                     0.00

Other Assets (Net of Amortization):
   Due from Insiders                                                           0.00
   Other (Itemize)
                                          Total Other Assets                                   0.00
TOTAL ASSETS                                                                          18,076,134.24

LIABILITIES
Post-petition Liabilities:
  Accounts Payable                                                     1,460,761.50
  Taxes Payable                                                          187,083.37
  Notes Payable
  Professional fees                                                    1,897,013.33
  Secured Debt
  Other (Itemize)
                             Total Post-petition Liabilities                           3,544,858.20

Pre-petition Liabilities:
   Secured Liabilities
   Priority Liabilities                                                   2,735.10
   Unsecured Liabilities                                                318,995.20
   Other (Itemize)
                                Total Pre-petition Liabilities                          321,730.30
TOTAL LIABILITIES                                                                      3,866,588.50

EQUITY:
  Pre-petition Owners’ Equity                                          4,925,463.17
  Post-petition Profit/(Loss)                                          9,284,082.57
  Direct Charges to Equity
TOTAL EQUITY                                                                          14,209,545.74
                                                      Page 15 of 16
TOTAL LIABILITIES & EQUITY                                                            18,076,134.24
         Case 1:17-bk-12408-MB          Doc 403 Filed 01/18/18 Entered 01/18/18 12:28:48                 Desc
                                             XI. QUESTIONNAIRE
                                        Main Document     Page 47 of 47

                                                                                                            No    Yes
1. Has the debtor-in-possession made any payments on its pre-petition unsecured debt, except as have
   been authorized by the court? If "Yes", explain below:                                                   x


                                                                                                            No    Yes
2. Has the debtor-in-possession during this reporting period provided compensation or remuneration
   to any officers, directors, principals, or other insiders without appropriate authorization? If "Yes",
   explain below:                                                                                           x


3. State what progress was made during the reporting period toward filing a plan of reorganization
   Debtor completed the sale of substantially all of its assets

4. Describe potential future developments which may have a significant impact on the case:

5. Attach copies of all Orders granting relief from the automatic stay that were entered during the
   reporting period.
                                                                                                            No    Yes
6. Did you receive any exempt income this month, which is not set forth in the operating report? If
   "Yes", please set forth the amounts and sources of the income below.                                     x




I,   Matthew Pliskin, CFO
     declare under penalty of perjury that I have fully read and understood the foregoing debtor-in-
     possession operating report and that the information contained herein is true and complete to the
     best of my knowledge.




        1/17/2018
      ________________________                            ______________________________________________
      Date                                           Page 16 of 16           Principal for debtor-in-possession
